UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DAILY NEWS, LP; CHICAGO TRIBUNE      Civil Action No. 1:24-cv-03285-SHS
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC;         Hon. Sidney H. Stein
 SUN-SENTINEL COMPANY, LLC; SAN       NOTICE OF APPEARANCE
 JOSE MERCURY-NEWS, LLC; DP MEDIA
 NETWORK, LLC; ORB PUBLISHING, LLC;
 AND NORTHWEST PUBLICATIONS, LLC,

                      Plaintiffs,

          v.

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                       Defendants.




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          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

          PLEASE TAKE NOTICE that Michelle Ybarra of Keker, Van Nest & Peters LLP hereby

appears as counsel for Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC,

OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC

in the above-captioned matter. She is admitted or otherwise authorized to practice in this Court.

Her address, telephone, facsimile, and email are as follows:

          Michelle Ybarra
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          Please serve said counsel with all pleadings, orders, motions, notices, and other filings in

this action.



                                                        KEKER, VAN NEST & PETERS LLP
Dated: June 5, 2024

                                                By: /s/ Michelle Ybarra
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                                                        OPENAI, INC., OPENAI LP, OPENAI
                                                        GP, LLC, OPENAI, LLC, OPENAI OPCO
                                                        LLC, OPENAI GLOBAL LLC, OAI
                                                        CORPORATION, LLC, OPENAI
                                                        HOLDINGS, LLC




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